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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   DANIIL TKACHEV,

 9                             Petitioner,                Case No. C20-532-RSL-MLP

10          v.                                            ORDER GRANTING MOTION FOR
                                                          EXTENSION OF TIME
11   ICE FIELD OFFICE DIRECTOR,

12                             Respondent.

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14          On August 27, 2020, the Court ordered Respondent to file a status update regarding

15   Petitioner’s removal within 14 days. (Dkt. # 14.) On September 10, 2020, Respondent filed a

16   status report indicating that counsel was in the process of gathering the requested information

17   and asking for an extension of time until September 17, 2020, to respond. (Dkt. # 15.) The Court

18   GRANTS Respondent’s motion for extension of time. Respondent shall file a status report

19   regarding Petitioner’s removal by September 17, 2020. The Clerk is directed to send copies of

20   this order to the parties and to the Honorable Robert S. Lasnik.

21          Dated this 14th day of September, 2020.


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23                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge


     ORDER GRANTING MOTION FOR EXTENSION
     OF TIME - 1
